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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FRED L. NANCE, JR.,                            )
                                               )
         Plaintiff,                            )
                                               )              No. 20 C 6316
         v.                                    )
                                               )              Judge Jorge L. Alonso
UNITED STATES DEPARTMENT                       )
OF JUSTICE, BUREAU OF                          )
ASSISTANCE, OFFICE OF JUSTICE                  )
PROGRAMS, EMAGES, INC.,                        )
HATTIE WASH, and                               )
THOMAS BRADLEY,                                )
                                               )
         Defendants.                           )

                          MEMORANDUM OPINION AND ORDER

         Believing he had been squeezed out of a grant for having blown a whistle, plaintiff Fred

L. Nance filed this suit against the government and three private defendants. Before the Court

are two motions, one filed by the private defendants and one by the government defendants. For

the reasons set forth below, the Court grants the government’s motion and grants in part and

denies in part the private defendants’ motion.

I.       BACKGROUND

         The following facts are from plaintiff’s complaint, and the Court takes them as true for

purposes of the motions to dismiss.

         Plaintiff Fred L. Nance (“Nance”), who has a Ph.D. in human services, is employed by

C.L.I.C.K. Services, NFP, where he is President and Chief Executive Officer. (Complt. p. 5).

Plaintiff was involved with the three private defendants in connection with a federal grant,

namely #2018-CY-BX-0025 (the “Grant”). Defendant Hattie Wash (“Wash”), who is the
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President and CEO of EMAGES, Inc., was the fiduciary partner on the Grant, and defendant

Thomas Bradley (“Bradley”) was the certified public accountant for the Grant.

       The Grant came about in the fall of 2018. In May of that year, plaintiff and Wash had

submitted a proposal under the Second Chance Act Comprehensive Community-based Adult

Reentry Program. In September 2018, Wash and plaintiff learned they had been awarded the

Grant, which would run from October 1, 2018 through September 20, 2021.

       Plaintiff and Bradley then participated in an online training program on financial

management. There, plaintiff learned that grant awardees were expected to ensure that they did

not draw down more federal funds than they could spend within the following ten days. By

February 2020, defendants were approved to draw down federal funds for the Grant.

       Plaintiff quickly grew concerned about how the funds were being drawn down. On or

about February 26, 2020, plaintiff received a copy of the monthly drawdown and learned that

Wash had drawn down funds to pay Dorothy Collins, who was no longer working on the Grant.

Plaintiff later noticed that Wash had also drawn down funds on March 30, 2020 to pay Dorothy

Collins. Plaintiff complained to Wash, who told him to stay in his own lane. Plaintiff

complained to Bradley, who said he would not discuss the matter except in a meeting with both

plaintiff and Wash.

       Plaintiff was not through complaining. Plaintiff next complained to a member of

Congress. Then, on April 17 or 18, 2020 (plaintiff uses both dates at different places in his

complaint), plaintiff sent the first of three of what he describes as whistleblower complaints.

Specifically, plaintiff wrote a letter addressed to the Bureau of Justice Programs and stated,

among other things:

       I want to report possible fraud or misappropriation of funds regarding Grant
       #2018-CY-BX-0025. . . .



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                                              * * *
        The reasoning for writing this report at this time is because of what I discovered
        in April of 2020 and having working knowledge of the event being described. I
        am not part of any fraudulent scheme. I received a copy of our Second Chance
        Act drawdown report, dated March 30, 2020, which listed Dorothy Collins, a
        clerk who resigned on or about January 16, 2020. When I inquired of Dr. Wash
        about drawing down monies for someone who did not work for the program, she
        insulted and demeaned me as she stated I knew nothing about accounting.

[Docket 33-6]. 1

        On August 21, 2020, Wash told plaintiff (by email) that she was willing to give up the

Grant on account of plaintiff’s whistleblowing complaints. At some point (the date is not clear

from plaintiff’s complaint), Wash gave back the Grant and told the Department of Justice and the

Bureau of Prisons that she was giving it back due to the coronavirus pandemic.

        On August 28, 2020, plaintiff submitted what he labels his second whistleblower

complaint. Specifically, plaintiff sent to the Department of Justice’s Office of Inspector General

a letter in which he stated, in relevant part:

        Dr. Nance receives a copy of the drawdown every month. On January 21st,
        February 26th, and March 30, 2020 Dr. Wash drew down funds for a person who
        was not employed. The person, Dorothy Collins resigned on the 1st week of
        January 2020. When I brought this issue to Dr. Wash she threatened me with
        giving up the grant if I told our Grant Manager. I informed the Grant Manager
        and Mr. Andre Bethea, Senior Policy Advisor for the Second Chance Act. I
        informed the Grant Manager and Mr. Bethea I was reporting this incident
        pursuant to the Whistleblower Act. I did not receive a response from them.

        We provide 7 groups with a trauma informed and mentoring curricula with this
        grant. When the COVID 19 crisis hit, we lost 2 groups, which were with the
        Cook County Jail and the Illinois Department of Corrections Special Needs Unit.
        We budgeted 10 mentors for $2800.00 a month. The groups we lost were
        budgeted for 4 mentors at around $500.00 a month. The payroll I submitted for


1
  Plaintiff alleges the existence of his three whistleblower complaints in his complaint. Plaintiff
did not attach these documents to his complaint, but the government filed the first two in
connection with its motion to dismiss. The Court may consider those documents without
converting the motion to dismiss to a motion for summary judgment, because they are referred to
in plaintiff’s complaint and are central to plaintiff’s claims. Equal Employment Opportunity
Comm’n v. Concentra Health Services, Inc., 496 F.3d 773, 778 (7th Cir. 2007).

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       March $2600.00; April $2100.00; May $1800.00; June $2300.00; and July
       $2100.00. Dr. Wash drew down $2800.00 for each of these months. Dr. Wash
       drew down $1160.00 from October of 2019 thru July of 2020 for our evaluator
       without receiving an invoice from her. Dr. Wash would ask her for an invoice
       when we talked to her, which was after she drew down money for her. I informed
       Dr. Wash she could not draw down funds for a particular month and not spend
       everything she drew down. Dr. Wash told me to mind my business and stay in
       my lane. I reminded Dr. Wash, several times, I am peer reviewer and know how
       this system works. I informed her there can be no money left over in her bank
       account. Dr. Wash continued to threaten me stating if I reported it she would give
       up the grant. I told her I would take it up.

       I informed our Technical Assistant, Joseph Williams, providing him emails and
       documentation. Mr. Williams informed me via email he would send all of my
       documentation to the Grant manager and his higher ups. I informed our Grant
       Manager and Mr. Bethea. Dr. Wash continued to retaliate against me telling me I
       cannot supervise the Support Clerk for our Grant. Our Support Clerk’s job
       description clearly states the clerk reports to me. This Support Clerk handles Dr.
       Wash’s financial records.

       On August 26, 2020 Dr. Wash submitted a GAN stating she wanted to take me off
       the Grant as one of the Point of Contact (POC). On August 28, 2020 our Grant
       Manager, Tracey Willis, approved Dr. Wash’s GAN taking me off as POC.
       Taking me off as POC limits me from performing my duties. Dr. Wash retaliated
       against me for filing my complaints with our Grant Manager, the Technical
       Assistant, and Mr. Bethea. I have detailed emails and documents to support my
       complaint. I have been litigating for over 20 years. I am not a lawyer.

[Docket 33-8].

       On September 13, 2020, plaintiff sent what he labels his third whistleblower complaint.

(Complt. at p. 6). He did not attach the document to his complaint or include other details about

his September 13, 2020 complaint.

       Plaintiff alleges that once Wash gave back the Grant, plaintiff could no longer work on it.

Plaintiff asserts that “all defendants” retaliated against him in violation of the National Defense

Authorization Act, 41 U.S.C. § 4712, and 740 ILCS 174. Plaintiff also asserts that he “files suit”

against the government defendants “under the FTCA,” i.e., the Federal Tort Claims Act.

(Complt. at p. 1).




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        The following facts are related to the government’s motion for summary judgment. 2

        The parties dispute whether plaintiff filed an administrative complaint before filing this

case under the Federal Tort Claims Act. The government put forth evidence that a search of its

computerized database of administrative tort claims did not reveal any administrative claim by

plaintiff. Plaintiff, who asserts that each of his whistleblower complaints was an administrative

tort claim, submitted evidence that, on September 13, 2020, he submitted an online complaint

(i.e., his third whistleblower complaint) to the United States Department of Justice, Office of the

Inspector General. That complaint stated, among other things:

        Dr. Wash, and others, are retaliating against me for filing Whistleblower
        complaints. The retaliation prompting this 3rd Whistleblower complaint is Dr.
        Wash demanding I copy her on every email I send out to staff and our network
        partners after I sent an email on September 9, 2020 to her copying the OJP Grant
        Manager, Senior Policy Advisor, and Division Chief. As you will see in the
        emails and responses, I was glad she wanted to re-engage but she must
        respond/reply to my emails, if for no other reason having professional respect for
        me and the Grant. . . .

        During this Coronavirus episode and the Illinois Stay at Home Order, along with
        Dr. Wash not opening her facility for all staff and participants for this grant, I


2
  Local Rule 56.1 outlines the requirements for the introduction of facts parties would like
considered in connection with a motion for summary judgment. The Court enforces Local Rule
56.1 strictly. See McCurry v. Kenco Logistics Services, LLC, 942 F.3d 783, 790 (7th Cir. 2019)
(“We take this opportunity to reiterate that district judges may require strict compliance with
local summary-judgment rules.”). Where one party supports a fact with admissible evidence and
the other party fails to controvert the fact with citation to admissible evidence, the Court deems
the fact admitted. See Curtis v. Costco Wholesale Corp., 807 F.3d 215, 218-19 (7th Cir. 2015);
Ammons v. Aramark Uniform Servs., Inc., 368 F.3d 809, 817-18 (7th Cir. 2004). This does not,
however, absolve the party putting forth the fact of the duty to support the fact with admissible
evidence. See Keeton v. Morningstar, Inc., 667 F.3d 877, 880 (7th Cir. 2012). Furthermore, the
Court does not consider facts that parties failed to include in their statements of fact, because to
do so would rob the other party of the opportunity to show that the fact is disputed.

The Court notes that plaintiff requested, pursuant to Rule 56(d), an opportunity to take discovery
before responding to defendant’s motion for summary judgment. The Court denied the motion
in open court, because the only relevant facts (namely, whether plaintiff had been a government
employee and whether plaintiff had filed an administrative claim) were within the plaintiff’s
personal knowledge.

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       have been working from home as other staff of EMAGES and staff for this grant.
       Dr. Wash has not issued a plan for opening her facility as required in Illinois so
       all staff and participants will know we are in a safe environment, as she has
       promised. . . .

       I am in the protected class of individuals susceptible to the Coronavirus. Dr.
       Wash is aware I had a heart attack in July of 2011; I have hypertension and
       abdominal issues; I have a registered Emotional Support Animal (Oakley, 5-year
       old Chihuahua), which I had before writing the proposal for this grant and which I
       brought with me during the proposal writing processes and every day at work
       when we received the grant on October 1, 2018; and I have a Doctor’s prescribed
       Nurse visiting me at home weekly as of July 31, 2020. Due to my blood pressure
       levels and other issues contained in my Whistleblower complaints, I have shared
       with my Nurse the trauma I am experiencing due to the harassment, intimidation,
       and the nefarious behavior of Dr. Wash and others who may be encouraging her
       behaviors. My Nurse’s progress notes reflect the anxiety and trauma suffered
       under this emotional distress.

[Docket 49-16 at 7-8]. At no point in the September 13, 2020 complaint does plaintiff request

money. [Docket 49-16 at 7-13].

       It is undisputed that plaintiff has never been an employee of the Department of Justice.

II.    STANDARD

       The Court may dismiss a claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil

Procedure if the plaintiff fails “to state a claim upon which relief can be granted.” Fed.R.Civ.P.

12(b)(6). Under the notice-pleading requirements of the Federal Rules of Civil Procedure, a

complaint must “give the defendant fair notice of what the . . . claim is and the grounds upon

which it rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley v.

Gibson, 355 U.S. 41, 47 (1957)). A complaint need not provide detailed factual allegations, but

mere conclusions and a “formulaic recitation of the elements of a cause of action” will not

suffice. Twombly, 550 U.S. at 555. To survive a motion to dismiss, a claim must be plausible.

Ashcroft v. Iqbal, 556 U.S. 662 (2009). Allegations that are as consistent with lawful conduct as




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they are with unlawful conduct are not sufficient; rather, plaintiffs must include allegations that

“nudg[e] their claims across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.

         In considering a motion to dismiss, the Court accepts as true the factual allegations in the

complaint and draws permissible inferences in favor of the plaintiff. Boucher v. Finance Syst. of

Green Bay, Inc., 880 F.3d 362, 365 (7th Cir. 2018). Conclusory allegations “are not entitled to

be assumed true,” nor are legal conclusions. Iqbal, 556 U.S. at 680 & 681 (noting that a “legal

conclusion” was “not entitled to the assumption of truth[;]” and rejecting, as conclusory,

allegations that “‘petitioners ‘knew of, condoned, and willfully and maliciously agreed to subject

[him]’ to harsh conditions of confinement”). The notice-pleading rule “does not unlock the

doors of discovery for a plaintiff armed with nothing more than conclusions.” Iqbal, 556 U.S. at

678-679.

         Summary judgment shall be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed.R.Civ.P.

56(a).

III.     DISCUSSION

         A.     Private defendants’ motion

         The three private defendants, EMAGES, Inc., Wash and Bradley, filed a joint motion.

                1.      Bradley

         Defendant Bradley argues that plaintiff’s claims against him should be dismissed under

Rule 12(b)(6) of the Federal Rules of Civil Procedure, because plaintiff has not alleged that

plaintiff was Bradley’s employee or that Bradley was plaintiff’s employer.

         Bradley’s point is well taken. Plaintiff brings Counts I and II under the National Defense

Authorization Act (NDAA), 41 U.S.C. § 4712. That statute states, in relevant part:




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       An employee of a contractor, subcontractor, grantee, or subgrantee or personal
       service contractor may not be discharged, demoted, or otherwise discriminated
       against as a reprisal for disclosing to a person or body described in paragraph (2)
       information that the employee reasonably believes is evidence of gross
       mismanagement of a Federal contract or grant, a gross waste of federal funds . . .

41 U.S.C. § 4712(a)(1) (emphasis added). The plain language of the statute makes clear that

only an employee has a claim under that provision. The statute does not, by its terms, extend its

protection to an independent contractor, and the Court is not aware of any case that held the

statute’s protections extend to non-employees. Plaintiff does not allege that he is an employee of

Bradley. Instead, plaintiff alleges in his complaint (Complt. at p. 5) and confirms in his brief

[Docket 51-1 at 5] that he is an employee of C.L.I.C.K Services, NFP.

       Nor does plaintiff allege that Bradley is his employer. What plaintiff alleges about

Bradley is that Bradley is an independent contractor of EMAGES. [Docket 51-1 at 12]. Even if

plaintiff had alleged himself to be an employee of EMAGES (which he did not), he still could

not sue Bradley without alleging that Bradley had the power to discharge, demote or otherwise

discriminate against him. Delebrau v. Danforth, 743 Fed. Appx. 43, 44 (7th Cir. 2018) (“The

Oneida Housing Authority is Delebrau’s employer, but she sued only its employees in their

personal capacities. The statute does not reach them because in the personal capacities they

cannot discharge, demote, or discriminate in employment.”). Plaintiff has not alleged (plausibly

or otherwise) that he is Bradley’s employee or that Bradley is his employer. Accordingly,

Counts I and II are dismissed without prejudice as to Bradley.

       In Count III, plaintiff asserts a claim under the Illinois Whistleblower law. That statute

provides:

       An employer may not retaliate against an employee for disclosing information to
       a government or law enforcement agency, where the employee has reasonable
       cause to believe that the information discloses a violation of a State or federal
       law, rule, or regulation.



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740 ILCS 174/15(b). Under the statute, employer is defined as “any individual, sole

proprietorship, partnership, firm, corporation, association, and any other entity that has one or

more employees in this State . . .; and any person acting within the scope of his or her authority

express or implied on behalf of those entities in dealing with its employees.” 740 ILCS 174/5.

That definition leaves room for individual liability under the statute when the individual is acting

within the scope of authority on behalf of an employer.

       Plaintiff, though, has not alleged that Bradley was acting on behalf of plaintiff’s

employer, so this claim, too, must be dismissed for failure to state a claim. Count III is

dismissed without prejudice as to defendant Bradley.

       In Count IV, plaintiff asserts a claim for retaliation. Under Illinois law, “an employer

may discharge an employee-at-will for any reasons or for no reason . . . except for when the

discharge violates a clearly mandated public policy.” Buckner v. Atlantic Plant Maintenance,

Inc., 182 Ill.2d 12, 19 (Ill. 1998) (emphasis added) (quoting Barr v. Kelso-Burnett Co., 106 Ill.2d

520, 525 (Ill. 1985)). Bradley argues that such claims can be made only against an employer,

and the Court agrees. Buckner, 182 Ill.2d at 21 (“Logically speaking, only ‘the employer’ has

the power to hire or fire an employee. Obviously, an agent or employee may carry out that

function on the employer’s behalf, but it is still the authority of the employer which is being

exercised. If the discharge violated public policy, it is the employer who is rightly held liable for

damages.”). Because plaintiff has not alleged (plausibly or otherwise) that Bradley was his

employer, Count IV is dismissed without prejudice as to Bradley.

       In Count V, plaintiff asserts a claim for “hostile environment.” Plaintiff clarifies in his

brief [Docket 51-1 at 18-19] that he brings this claim under Title VII of the Civil Rights Act of

1964. The problem with this claim, again, is that plaintiff has not alleged that Bradley was his



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employer. Plaintiff can bring a Title VII claim against only an employer. Supervisors and co-

workers are not liable under Title VII. Williams v. Banning, 72 F.3d 552, 555 (7th Cir. 1995)

(“[A] supervisor does not, in his individual capacity, fall within Title VII’s definition of

employer[.]”); see also Nischan v. Stratosphere Quality, LLC, 865 F.3d 922, 930 (7th Cir. 2017)

(“[T]here is no individual liability under Title VII.”). Accordingly, Count V is dismissed

without prejudice as to Bradley.

       Finally, in Counts VI and VII, plaintiff claims emotional distress and special damages,

respectively. As Bradley points out, these are prayers for relief, not causes of action. Because

plaintiff has not stated a claim against Bradley, these prayers for relief, too, are dismissed as to

Bradley.

       For these reasons, plaintiff’s claims against Bradley are dismissed without prejudice and

with leave to amend.

               2.      Wash and EMAGES, Inc.

       Wash and EMAGES, Inc. move, pursuant to Rule 12(e), for a more definite statement.

Rule 12(e) of the Federal Rules of Civil Procedure allows a party to “move for a more definite

statement of a pleading” when that pleading “is so vague or ambiguous that the party cannot

reasonably prepare a response.” Fed.R.Civ.P. 12(e).

       In their motion, Wash and EMAGES, Inc. argue that plaintiff’s complaint was vague,

because it seemed to be alleging both that plaintiff was an employee of Wash and EMAGES, Inc.

and also that he was not an employee of Wash and EMAGES, Inc. In response, plaintiff

“state[d], emphatically, that he is an employee of C.L.I.C.K. Services, NFP.” (Plf. Brief at

28/Docket 51-1 at 28). Plaintiff also said, “Plaintiff does not claim defendants . . . EMAGES,




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Inc, Hattie Wash, or Thomas Bradley terminated his employment as related to an

employee/employer relationship.” (Plf. Brief at 5/Docket 51-1 at 50).

         Given those statements, Wash and EMAGES, Inc. replied that their motion for more

definite statement is moot (which is to say, they already have the clarification they need).

Accordingly, that portion of the motion is denied as moot. Wash and EMAGES, Inc. request

leave to file a motion to dismiss (now that they understand plaintiff’s claims). Leave is granted:

these defendants may file a motion to dismiss, but they should wait until after plaintiff files an

amended complaint.

         B.     Government’s motion

                1.     Exhaustion

         The government argues that plaintiff’s FTCA claim must be dismissed, because plaintiff

failed to exhaust his administrative remedies. Failure to exhaust is generally an affirmative

defense. Jones v. Bock, 549 U.S. 199 (2007). 3 A plaintiff need not plead around an affirmative

defense, and the Court may not dismiss under Rule 12(b)(6) on the basis of an affirmative

defense unless the plaintiff alleges, and thus admits, the elements of the affirmative defense.

Chicago Bldg. Design, P.C. v. Mongolian House, Inc., 770 F.3d 610, 613-14 (7th Cir. 2014);

United States Gypsum Co. v. Indiana Gas Co., Inc., 350 F.3d 623, 626 (7th Cir. 2003). The

government seeks dismissal or, in the alternative, summary judgment.




3
 The exhaustion requirement of the Federal Tort Claims Act is a limitation on the waiver of
sovereign immunity. It is not clear that it is a true affirmative defense, around which a plaintiff
need not plead. Compare Chronis, 932 F.3d 544 (dismissing for failure to exhaust); with Gray v.
United States, 723 F.3d 795, 798 & 799 n. 1 (7th Cir. 2013) (describing exhaustion as “a
condition on the government’s waiver of sovereign immunity” and as an “affirmative defense”).
The court need not decide, because the outcome is the same whether the claim is dismissed under
Rule 12(b)(6) or 56.

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       Title 28 U.S.C. § 2675(a) provides:

       An action shall not be instituted upon a claim against the United States for money
       damages for injury or loss of property or personal injury or death caused by the
       negligent or wrongful act or omission of an employee of the Government while
       acting within the scope of his office or employment, unless the claimant shall
       have first presented the claim to the appropriate Federal agency in writing and
       sent by certified or registered mail.

28 U.S.C. § 2675(a) (emphasis added). By regulation, a claim is “deemed to have been

presented when a Federal agency receives from a claimant . . . an executed Standard Form 95 or

other written notification of an incident, accompanied by a claim for money damages in a sum

certain for an injury to or loss of property, personal injury, or death alleged to have occurred by

reason of the incident . . .” 28 C.F.R. § 14.2(a); see also Kanar v. United States, 118 F.3d 527,

530 (7th Cir. 1997) (“[W]e treat ‘claim’ as a statutory term that needs a definition, and we see no

reason why that definition may not come from a regulation issued under statutory authority.”). A

claimant need not “comply with ‘every jot and tittle’” as “long as the proper agency had the

opportunity to settle the claim for money damages before the point of suit[.]” The Smoke Shop,

LLC v. United States, 761 F.3d 779, 787 (7th Cir. 2014). “[A] claimant who neither makes it

clear that she is demanding money from the agency nor says how much she is demanding

thwarts the settlement process envisioned by the FTCA,” and, thus, his claim must be dismissed.

Chronis v. United States, 932 F.3d 544, 547 (7th Cir. 2019).

       Here, the parties dispute whether plaintiff exhausted. The government has no record of

receiving a proper claim. Plaintiff, for his part, argues that his three whistleblower complaints

constituted claims under the FTCA. The Court cannot agree with plaintiff. Even assuming the

appropriate agency had received those three documents in the appropriate manner, not one of

those documents included a demand for money, let alone for a sum certain. Without that, none




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of his letters qualifies as a claim under the FTCA, and plaintiff failed to exhaust his remedies

before filing suit.

         Accordingly, plaintiff’s FTCA claim is dismissed. 4

                2.     Remaining claims

         The government moves to dismiss the remaining claims, because, among other things

(like sovereign immunity), plaintiff has not alleged that the government was his employer. The

Court agrees. As the Court explained above, an entity cannot be liable on those claims unless it

was plaintiff’s employer. Plaintiff has not alleged that, so the claims must be dismissed for

failure to state a claim. Furthermore, as plaintiff notes in his brief, [Docket 49-2 at 46], plaintiff

admitted in open court that he was not an employee of the Department of Justice. Thus, plaintiff

cannot cure this defect by amendment. The remaining claims against the government are

dismissed with prejudice.




4
  This dismissal is without prejudice to plaintiff’s right to file an administrative claim with the
appropriate agency, see Chronis, 932 F.3d at 549, to the extent the statute of limitations has not
run. Plaintiff may not, however, replead the claim in this case.

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IV.    CONCLUSION

       For the reasons set forth above, the Court grants the government’s motion [31] to dismiss.

Plaintiff’s FTCA claim is dismissed without prejudice (and without leave to amend). The

remaining claims against the government are dismissed with prejudice. The Court grants in part

and denies in part the private defendants’ motion [40] to dismiss. The Court dismisses without

prejudice all claims against defendant Bradley. Plaintiff is granted leave to file by July 9, 2021

an amended complaint against defendants Wash, EMAGES, Inc. and Bradley, should he so

choose. Defendants’ deadline to answer or otherwise plead is August 6, 2021.


SO ORDERED.                                           ENTERED: June 8, 2021



                                                      _________________________________
                                                      JORGE L. ALONSO
                                                      United States District Judge




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